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                            EXHIBIT 2




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     [handwritten text in italics]
     IMPORTANT

     Instructions: The information on this page should be read to the foreign parent in a language that he or she
     understands. The Notice must be served to the foreign parent at the same time as this form. The foreign
     parent must indicate which option they choose by signing the appropriate box below.

     YOU DO NOT HAVE to accept a deportation order to have your child returned. You can choose to
     continue fighting your immigration case, and the government has to still comply with the judge’s order and
     reunite you with your child.

     IF YOU LOSE YOUR CASE AND THE GOVERNMENT IS GOING TO DEPORT YOU FROM THE
     UNITED STATES, you will have to decide at that time if you want your child to leave the United States
     with you.

     Name of the Parent: D     L ,M
     “A” Number of the Parent:
     Country of Citizenship: Honduras
     Detention Center:       EPC
     Name of the Child:      E     -D                O
     “A” Number of the Child:

     CHOOSE ONE OPTION:

     MLDL X             If I lose my case and I am deported, I would like to take my child with me.

     ________           If I lose my case and I am deported, I do not want to take my child with me.

     ________          I do not have a lawyer, and I want to talk to a lawyer before deciding if I want my child to
                       be deported with me.

                                                 Certificate of Service

     I hereby certify that I gave you this form in          EPC
                                                     __________________________
                                                            (location)
     to        D      L ,M                           on     09/21/18       , and she was read the contents of
               __________________________                   ___________
               (Name of the Alien)
     this notice in     Spanish
                        _____________
                        (language)
               [signature]
     ____________________________________                    _________________________________________
               Name and Signature of the Officer)            Name or Number of the interpreter (if applicable)




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   •
TRANSPERFECT



                 City of New York, State of New York, County of New York




                 I, Aurora Landman, hereby certify that the document, "Translation Request" is, to the
                 best of my knowledge and belief, a true and accurate translation from Spanish into
                 English.




                 Aurora Landman



                 Sworn to before me this
                 November 1, 2018




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                 Stamp, Notary Public



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